         Case 3:22-cv-00989-SB         Document 21        Filed 08/31/23     Page 1 of 3




Ashley A. Marton, OSB No. 171584
ashley@workplacelawpdx.com
Rebecca Cambreleng, OSB No. 133209
rebecca@workplacelawpdx.com
CAMBRELENG & MARTON LLC
3518 S Corbett Avenue
Portland, Oregon 97239
Telephone: (503) 477-4899
Attorneys for Plaintiff


                              UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON


 DICA DIETZSCHOLD, an individual and               Case No. 3:22-cv-00989-SB
 GRACE DIETZSCHOLD, an individual,

                Plaintiffs,
        v.

 CITY OF PORTLAND, a municipal                     STIPULATED LIMITED DISMISSAL OF
 corporation; BRENT MAXEY, an                      CLAIMS AS TO PLAINTIFF DICA
 individual, and JOHN DOES, unknown                DIETZSCHOLD
 individuals,

                Defendants.


       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the parties hereby stipulate to a limited

dismissal of plaintiff Dica Dietzschold’s claims against defendants City of Portland, Brent

Maxey and John Does WITH PREJUDICE and without an award of fees or costs to either party.

//

//

//

//
P a g e | 1 STIPULATED LIMITED DISMISSAL OF CLAIMS                      CAMBRELENG & MARTON LLC
            AS TO PLAINTIFF DICA DIETZSCHOLD                                     3518 S Corbett Ave.
                                                                              Portland, Oregon 97239
                                                                                      (503) 477-4899
        Case 3:22-cv-00989-SB      Document 21       Filed 08/31/23   Page 2 of 3




IT IS SO STIPULATED:

 Dated August 31, 2023.                      CAMBRELENG & MARTON LLC

                                             /s/Ashley A. Marton
                                             Ashley A. Marton, OSB No. 171584
                                             Of Attorneys for Plaintiffs


 Dated August 31, 2023.                      PORTLAND CITY ATTORNEY’S OFFICE

                                             /s/Mallory R. Beebe
                                             Mallory R. Beebe, OSB No. 115138
                                             Attorney for Defendants City of Portland and
                                             Brent Maxey




P a g e | 2 STIPULATED LIMITED DISMISSAL OF CLAIMS              CAMBRELENG & MARTON LLC
            AS TO PLAINTIFF DICA DIETZSCHOLD                             3518 S Corbett Ave.
                                                                      Portland, Oregon 97239
                                                                              (503) 477-4899
         Case 3:22-cv-00989-SB         Document 21       Filed 08/31/23     Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that on this 31st day of August, 2023, I served the following

STIPULATED NOTICE OF LIMITED DISMISSAL AS TO PLAINTIFF DICA

DIETZSCHOLD on the attorney(s) for defendants listed below via electronic means through

the Court’s Case Management/Electronic Case File system:

              Mallory R. Beebe, OSB No.
              Mallory.beebe@portlandoregon.gov
              Portland City Attorney’s Office
              1221 SW Fourth Avenue, Room 430
              Portland, Oregon 97204
              Attorney for Defendants City of Portland and Brent Maxey


                                                   CAMBRELENG & MARTON LLC

                                             By:     /s/ Maxwell Joyner          _
                                                   Maxwell Joyner, Paralegal




P a g e | 3 STIPULATED LIMITED DISMISSAL OF CLAIMS                    CAMBRELENG & MARTON LLC
            AS TO PLAINTIFF DICA DIETZSCHOLD                                   3518 S Corbett Ave.
                                                                            Portland, Oregon 97239
                                                                                    (503) 477-4899
